            Case 1:21-cr-00129-ABJ Document 152 Filed 02/07/24 Page 1 of 2


                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                                   Case No.: 1:21-cr-129

       v.

GABRIEL GARCIA.
______________________________/


                MOTION TO CONTINUE SENTENCING DATE (UNOPPOSED)
                        (SUPPLEMENT FILED UNDER SEAL)

       COMES NOW, Gabriel Garcia, via undersigned counsel, and files this Motion to Continue
 Sentencing Date (Unopposed) and requests this Honorable Court vacate the Sentencing date
 scheduled for March 28th, 2024 and schedule the Sentencing date to on or after April 29th, 2024, at the
 Court’s convenience, and as grounds states as follows:

 1. Mr. Garcia’s Stipulated Fact Trial took place prior to the holidays on November 20th, 2023.

 2. Pursuant to this Court’s Minute Order entered on November 20th, 2023, the Sentencing
    Memorandum is Due March 18th, 2024 and Sentencing is scheduled for March 28th, 2024 at
    9:30a.m.

 3. Due to counsel’s scheduling and other unforeseen circumstances, Mr. Garcia’s initial pre-sentence
    interview with Probation was delayed. As a result of these delays, the Probation Officer requests
    an additional 45 days to prepare the draft for the Sentencing Memorandum wherein both Defense
    and Government have an opportunity to object.

 4. Mr. Garcia has signed his medical releases provided by the Probation Officer, however, continues
    to gather all financial history, medical records, and information to submit to Probation.

 5. The Probation Office has not yet received the defendant’s financial affidavit, a signed credit release
    and military records that the defendant will provide. Defense counsel asserts that such information
    will be provided to the Probation Office no later than February 16, 2024. The Probation Office
    requests until March 29th, 2024, to complete its draft Pre-Sentence Report.

 6. Counsel has filed a Supplement to this Motion under Seal, and for the reasons stated therein also
    requests that Sentencing be continued.
            Case 1:21-cr-00129-ABJ Document 152 Filed 02/07/24 Page 2 of 2


 7. Probation is unopposed to this Motion.

 8. Government is unopposed to a brief continuance of Sentencing.

 9. Counsel for Gabriel Garcia asserts this Motion to Continue and its Sealed Supplement is filed in

     good faith and not for any purpose of frustration or undue delay.




    WHEREFORE, Defendant respectfully requests this Honorable Court consider this Motion to
Continue Sentencing Date, grant this Motion, vacate Sentencing scheduled for March 28th, 2024 and
schedule a Sentencing date at the Court’s convenience for on or after April 29th, 2024, and enter its
Order accordingly.




                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Continue
Sentencing Date (Unopposed) (Supplement Filed Under Seal) has been furnished via Electronic Filing
to AUSA, Ashley Akers, AUSA Jason McCullough, Office of the U.S. Attorney, District of Columbia,
and all other parties listed on this 6th day of February, 2024.




                                                   /S/ Maria T. Rodriguez
                                                   ______________________________
                                                   Maria T. Rodriguez, Attorney at Law
                                                   P.O. Box 2176
                                                   Tarpon Springs, FL 34688
                                                   Tel: (727) 238-2342
                                                   Fla. Bar No.: 168180 / District of Columbia
                                                   Email: attorneymariar@aol.com
